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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

SABEIN BURGESS,                                *

        Plaintiff                              *

v.                                             *       Civil Action No.: RDB-15-00834

OFFICERS OF THE BALTIMORE                      *
POLICE DEPARTMENT,

                                               *
        Defendants.
                                               *
*       *       *       *       *       *      *       *     *       *      *       *       *

                    DEFENDANTS’ PROPOSED JURY INSTRUCTIONS

        Defendants, Gerald Alan Goldstein and Steven Lehmann (the "Defendants"), by and

through their attorneys, requests the Court to charge the jury with the attached Jury Instructions

at the close of all evidence in this case.

                                       Description of the Case

        Mr. Burgess was tried and convicted for the murder of his girlfriend, Michelle Dyson.

After new evidence surfaced, Mr. Burgess was released from prison. Mr. Burgess’s position in

this case is that the actions of the Defendants caused him to be convicted of and incarcerated for

that murder. Defendants maintain that Mr. Burgess was properly investigated and that they did

nothing wrong.




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                                        Role of the Court

       You have now heard all of the evidence in the case as well as the final arguments of the
lawyers for the parties.

        My duty at this point is to instruct you as to the law. It is your duty to accept these
instructions of law and apply them to the facts as you determine them, just as it has been my duty
to preside over the trial and decide what testimony and evidence is relevant under the law for
your consideration.

        On these legal matters, you must take the law as I give it to you. If any attorney has
stated a legal principle different from any that I state to you in my instructions, it is my
instructions that you must follow.

       You should not single out any instruction as alone stating the law, but you should
consider my instructions as a whole when you retire to deliberate in the jury room.

       You should not, any of you, be concerned about the wisdom of any rule that I state.
Regardless of any opinion that you may have as to what the law may be—or ought to be—it
would violate your sworn duty if you were to base a verdict upon any other view of the law than
that which I give you.


Sand, Siffert, Loughlin, Reiss, Allen & Rakoff, 4 Modern Federal Jury Instructions - Civil,
Instruction § 71.2 (hereinafter “Sand”).




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                                        Role of the Jury

       As members of the jury, you are the sole and exclusive judges of the facts. You pass
upon the evidence. You determine the credibility of the witnesses. You resolve such conflicts as
there may be in the testimony. You draw whatever reasonable inferences you decide to draw
from the facts as you have determined them, and you determine the weight of the evidence.

        In determining these issues, no one may invade your province or functions as jurors. In
order for you to determine the facts, you must rely upon your own recollection of the evidence.
What the lawyers have said in their opening statements, in their closing arguments, in their
objections, or in their questions is not evidence. Nor is what I may have said – or what I may say
in these instructions – about a fact issue evidence. In this connection, you should bear in mind
that a question put to a witness is never evidence, it is only the answer which is evidence. But
you may not consider any answer that I directed you to disregard or that I directed struck from
the record. Do not consider such answers.

        Since you are the sole and exclusive judges of the facts, I do not mean to indicate any
opinion as to the facts or what your verdict should be. The rulings I have made during the trial
are not any indication of my views of what your decision should be as to whether or not either
party has proven its case.

         I also ask you to draw no inference if upon occasion I asked questions of certain
witnesses. These questions were only intended for clarification or to expedite matters and
certainly were not intended to suggest any opinions on my part as to the verdict you should
render, or whether any of the witnesses may have been more credible than any other witnesses.
You are expressly to understand that the Court has no opinion as to the verdict you should render
in this case.

       As to the facts, ladies and gentlemen, you are the exclusive judges. You are to perform
the duty of finding the facts without bias or prejudice to any party.


Sand, 71-3




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                                          Juror Oath

       In determining the facts, you are reminded that you took an oath to render judgment
impartially and fairly, without prejudice or sympathy and solely upon the evidence in the case
and the applicable law.


Sand, 71-4




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                                       Conduct of Counsel

        It is the duty of the attorney on each side of a case to object when the other side offers
testimony or other evidence which the attorney believes is not properly admissible. Counsel also
have the right and duty to ask the Court to make rulings of law and to request conferences at the
side bar out of the hearing of the jury. All those questions of law must be decided by me, the
Court. You should not show any prejudice against an attorney or his client because the attorney
objected to the admissibility of evidence, or asked for a conference out of the hearing of the jury,
or asked the Court for a ruling on the law.

        As I already indicated, my rulings on the admissibility of evidence do not, unless
expressly stated by me, indicate any opinion as to the weight or effect of such evidence. You are
the sole judges of the credibility of all witnesses and the weight and effect of all evidence.


Sand, 71-6




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                                        Burden of Proof

       This is a civil case and as such the plaintiff, Sabein Burgess has the burden of proving the
material allegations of his complaint by a preponderance of the evidence and bad faith by clear
and convincing evidence.


Sand, 73-1 (modified)




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                                 Preponderance of the Evidence

        The party with the burden of proof on any given issue has the burden of proving every
disputed element of his claim to you by a preponderance of the evidence. If you conclude that
the party bearing the burden of proof has failed to establish his claim by a preponderance of the
evidence, you must decide against him on the issue you are considering.

        What does a “preponderance of evidence” mean? To establish a fact by a preponderance
of the evidence means to prove that the fact is more likely true than not true. A preponderance of
the evidence means the greater weight of the evidence. It refers to the quality and persuasiveness
of the evidence, not to the number of witnesses or documents. In determining whether a claim
has been proved by a preponderance of the evidence, you may consider the relevant testimony of
all witnesses, regardless of who may have called them, and all the relevant exhibits received in
evidence, regardless of who may have produced them.

        If you find that the credible evidence on a given issue is evenly divided between the
parties—that it is equally probable that one side is right as it is that the other side is right—then
you must decide that issue against the party having this burden of proof. That is because the
party bearing this burden must prove more than simple equality of evidence—it must prove the
element at issue by a preponderance of the evidence. On the other hand, the party with this
burden of proof need prove no more than a preponderance. So long as you find that the scales
tip, however slightly, in favor of the party with this burden of proof—that what the party claims
is more likely true than not true—then that element will have been proved by a preponderance of
evidence.

       Some of you may have heard of proof beyond a reasonable doubt, which is the proper
standard of proof in a criminal trial. That requirement does not apply to a civil case such as this
and you should put it out of your mind.


Sand, 73-2




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                                Clear and Convincing Evidence

        The party with the burden of proof on the issue of bad faith has the burden of proving all
of the elements of his claim on that issue to you by clear and convincing evidence. If you
conclude that the party bearing the burden of proof has failed to establish his claim by clear and
convincing evidence, you must decide against him on the issue you are considering.

       What does “clear and convincing evidence” mean? Clear and convincing evidence is a
more exacting standard than proof by a preponderance of the evidence, where you need believe
only that a party’s claim is more likely true than not true. On the other hand, “clear and
convincing” proof is not as high a standard as the burden of proof applied in criminal cases,
which is proof beyond a reasonable doubt.

        Clear and convincing proof leaves no substantial doubt in your mind. It is proof that
establishes in your mind, not only that the proposition at issue is probable, but also that it is
highly probable. It is enough if the party with this burden of proof establishes its claim beyond
any “substantial doubt”; he does not have to dispel every “reasonable doubt.”


Sand, 73-3




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                                  What Is and Is Not Evidence

       The evidence in this case is the sworn testimony of the witnesses, the exhibits received in
evidence, stipulations, and judicially noticed facts.

        By contrast, the question of a lawyer is not to be considered by you as evidence. It is the
witnesses’ answers that are evidence, not the questions. At times, a lawyer on cross-examination
may have incorporated into a question a statement which assumed certain facts to be true, and
asked the witness if the statement was true. If the witness denied the truth of a statement, and if
there is no direct evidence in the record proving that assumed fact to be true, then you may not
consider it to be true simply because it was contained in the lawyer’s question.

       The famous example of this is the lawyer’s question of a married witness: “When did you
stop beating your wife?” You would not be permitted to consider as true the assumed fact that
he ever beat his wife, unless the witness himself indicated he had, or unless there was some other
evidence in the record that he had beaten his wife.

        Testimony that has been stricken or excluded is not evidence and may not be considered
by you in rendering your verdict. Also, if certain testimony was received for a limited purpose—
such as for the purpose of assessing a witness’ credibility—you must follow the limiting
instructions I have given.

        Arguments by lawyers are not evidence, because the lawyers are not witnesses. What
they have said to you in their opening statements and will say in their summations is intended to
help you understand the evidence to reach your verdict. However, if your recollection of the
facts differs from the lawyers’ statements, it is your recollection which controls.

        To constitute evidence, exhibits must be received in evidence. Exhibits marked for
identification but not admitted are not evidence, nor are materials brought forth only to refresh a
witness’ recollection.

        Finally, statements which I may have made concerning the quality of the evidence do not
constitute evidence.

       It is for you alone to decide the weight, if any, to be given to the testimony you have
heard and the exhibits you have seen.


Sand, 74-1




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                                           Depositions

        Some of the testimony before you is in the form of depositions which have been received
in evidence. A deposition is simply a procedure where the attorneys for one side may question a
witness or an adversary party under oath before a court stenographer prior to trial. This is part of
the pretrial discovery, and each side is entitled to take depositions. You may consider the
testimony of a witness given at a deposition according to the same standards you would use to
evaluate the testimony of a witness given at trial.


Sand, 74-14




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                                        Inference Defined

        During the trial you have heard the attorneys use the term “inference,” and in their
arguments they have asked you to infer, on the basis of your reason, experience, and common
sense, from one or more established facts, the existence of some other fact.

       An inference is not a suspicion or a guess. It is a reasoned, logical conclusion that a
disputed fact exists on the basis of another fact which has been shown to exist.

        There are times when different inferences may be drawn from facts, whether proved by
direct or circumstantial evidence. The one party asks you to draw one set of inferences, while
the other party asks you to draw another. It is for you, and you alone, to decide what inferences
you will draw.

       The process of drawing inferences from facts in evidence is not a matter of guesswork or
speculation. An inference is a deduction or conclusion which you, the jury, are permitted to
draw—but not required to draw—from the facts which have been established by either direct or
circumstantial evidence. In drawing inferences, you should exercise your common sense.

        So, while you are considering the evidence presented to you, you are permitted to draw,
from the facts which you find to be proven, such reasonable inferences as would be justified in
light of your experience.


Sand, 75-1




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                                       Witness Credibility

        You have had the opportunity to observe all the witnesses. It is now your job to decide
how believable each witness was in his or her testimony. You are the sole judges of the
credibility of each witness and of the importance of his testimony.

        It must be clear to you by now that you are being called upon to resolve various factual
issues raised by the parties in the face of different pictures painted by both sides. It must also be
obvious to you that both sides cannot be true and this is where you play your role as jurors. In
making these judgments, you should carefully scrutinize all of the testimony of each witness, the
circumstances under which each witness testified, and any other matter in evidence which may
help you decide the truth and the importance of each witness’ testimony.

       How do you determine where the truth lies? You watched each witness testify.
Everything a witness said or did on the witness stand counts in your determination. How did the
witness impress you? Did he appear to be frank, forthright and candid, or evasive and edgy as if
hiding something? How did the witness appear; what was his demeanor—that is, his carriage,
behavior, bearing, manner and appearance while testifying? Often it is not what a person says
but how he says it that moves us.

        You should use all the tests for truthfulness that you would use in determining matters of
importance to you in your everyday life. You should consider any bias or hostility the witness
may have shown for or against any party as well as any interest the witness has in the outcome of
the case. You should consider the opportunity the witness had to see, hear, and know the things
about which he testified, the accuracy of his memory, his candor or lack of candor, his
intelligence, the reasonableness and probability of his testimony and its consistency or lack of
consistency and its corroboration or lack of corroboration with other credible testimony.

        In other words, what you must try to do in deciding credibility is to size a witness up in
light of his or her demeanor, the explanations given and all of the other evidence in the case.
Always remember that you should use your common sense, your good judgment and your own
life experience.


Sand, 76-1




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                                      Absence of Evidence

       The law does not require any party to call as a witness every person who might have
knowledge of the facts related to this trial. Similarly, the law does not require any party to
present as exhibits all papers and things mentioned during this trial.


Sand, Siffert, Reiss & Batterman, Modern Federal Jury Instructions - Civil, 7th Cir. 1.18 (“Sand,
7th Cir.”).




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                                    Number of Witnesses

       You may find the testimony of one witness or a few witnesses more persuasive than the
testimony of a large number. You need not accept the testimony of the larger number of
witnesses.


Sand, 7th Cir. 1.17




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                                               Bias

        In deciding whether to believe a witness, you should specifically note any evidence of
hostility or affection which the witness may have towards one of the parties. Likewise, you
should consider evidence of any other interest or motive that the witness may have in
cooperating with a particular party.

        It is your duty to consider whether the witness has permitted any such bias or interest to
color his testimony. In short, if you find that a witness is biased, you should view his testimony
with caution, weigh it with care and subject it to close and searching scrutiny.


Sand, 76-2




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                                       Interest in Outcome

        In evaluating the credibility of the witnesses, you should take into account any evidence
that a witness may benefit in some way from the outcome of the case. Such interest in the
outcome creates a motive to testify falsely and may sway a witness to testify in a way that
advances his own interests. Therefore, if you find that any witness whose testimony you are
considering may have an interest in the outcome of this trial, then you should bear that factor in
mind when evaluating the credibility of his testimony, and accept it with great care.

        Keep in mind, though, that it does not automatically follow that testimony given by an
interested witness is to be disbelieved. There are many people who, no matter what their interest
in the outcome of the case may be, would not testify falsely. It is for you to decide, based on
your own perceptions and common sense, to what extent, if at all, the witness’s interest has
affected his testimony.


Sand, 76-3




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                                  Discrepancies in Testimony

       You have heard evidence of discrepancies in the testimony of certain witnesses, and
counsel have argued that such discrepancies are a reason for you to reject the testimony of those
witnesses.

       You are instructed that evidence of discrepancies may be a basis to disbelieve a witness’
testimony. On the other hand, discrepancies in a witness’ testimony or between his testimony
and that of others do not necessarily mean that the witness’ entire testimony should be
discredited.

        People sometimes forget things and even a truthful witness may be nervous and
contradict himself. It is also a fact that two people witnessing an event will see or hear it
differently. Whether a discrepancy pertains to a fact of importance or only to a trivial detail
should be considered in weighing its significance; but a willful falsehood always is a matter of
importance and should be considered seriously.

       It is for you to decide, based on your total impression of the witness, how to weigh the
discrepancies in his or her testimony. You should, as always, use common sense and your own
good judgment.


Sand, 76-4




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                       Impeachment by Prior Inconsistent Statements

       You have heard evidence that at some earlier time the witness has said or done something
which counsel argues is inconsistent with the witness’ trial testimony.

        Evidence of a prior inconsistent statement is not to be considered by you as affirmative
evidence in determining liability. Evidence of a prior inconsistent statement was placed before
you for the more limited purpose of helping you decide whether to believe the trial testimony of
the witness who contradicted himself. If you find that the witness made an earlier statement that
conflicts with his trial testimony, you may consider that fact in deciding how much of his trial
testimony, if any, to believe.

        In making this determination, you may consider whether the witness purposely made a
false statement or whether it was an innocent mistake; whether the inconsistency concerns an
important fact, or whether it had to do with a small detail; whether the witness had an
explanation for the inconsistency, and whether that explanation appealed to your common sense.

        It is exclusively your duty, based upon all the evidence and your own good judgment, to
determine whether the prior statement was inconsistent, and if so how much, if any, weight to
give the inconsistent statement in determining whether to believe all or part of the witness’
testimony.


Sand, 76-5




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                                         Expert Witnesses

        In this case, I have permitted a witness to express his opinions about matters that are in
issue. A witness may be permitted to testify to an opinion on those matters about which he or
she has special knowledge, skill, experience and training. Such testimony is presented to you on
the theory that someone who is experienced and knowledgeable in the field can assist you in
understanding the evidence or in reaching an independent decision on the facts.

         In weighing this opinion testimony, you may consider the witness’s qualifications, his
opinions, the reasons for testifying, as well as all of the other considerations that ordinarily apply
when you are deciding whether or not to believe a witness’s testimony. You may give the
opinion testimony whatever weight, if any, you find it deserves in light of all the evidence in this
case. You should not, however, accept opinion testimony merely because I allowed the witness
to testify concerning his opinion. Nor should you substitute it for your own reason, judgment
and common sense. The determination of the facts in this case rests solely with you.


Sand, 76-9 (modified)




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                                    Writ of Actual Innocence

        A person charged by indictment or criminal information with a crime triable in circuit
court and convicted of that crime may, at any time, file a petition for writ of actual innocence in
the circuit court for the county in which the conviction was imposed if the person claims that
there is newly discovered evidence that:

       (1) creates a substantial or significant possibility that the result may have been different,
           as that standard has been judicially determined; and

       (2) could not have been discovered in time to move for a new trial.

Md. Code, Crim. Proc. § 8-301(a).

         If a State’s Attorney determines the petitioner was actually innocent, he or she may
certify that the conviction was an error. However, the decision to grant the Petition alone is not a
determination of the petitioner’s actual guilt or innocence.

Md. Code, Crim. Proc. § 8-301(h).




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                                         Unalleged Claims

        You will be instructed on the law with regard to specific causes of action (or claims)
which have been alleged by Mr. Burgess in this case. In rendering a verdict, it is important that
you consider only those specific claims. It is inappropriate for you to consider any other potential
claims, even if alluded to by plaintiff’s counsel during the course of this litigation.

        “Pretrial orders are designed to expedite litigation and eliminate surprise by framing the
issues remaining for trial.” Perfection-Cobey Co., Div. of Harsco Corp. v. City Tank Corp., 597
F.2d 419, 420 (4th Cir. 1979). A party’s “[f]ailure to identify a legal issue worthy of trial in the
pretrial conference or pretrial order waives the party’s right to have that issue tried.” McLean
Contracting Co. v. Waterman Steamship Corp., 277 F.3d 477, 480 (4th Cir. 2002) (citing to Fed.
R. Civ. P. 16, advisory notes which state, in part, “[C]ounsel bear a substantial responsibility for
assisting the court in identifying the factual issues worthy of trial. If counsel fail to identify an
issue to the court, the right to have the issue tried is waived.”). A pretrial order “controls the
subsequent course of the action” and courts may restrict parties' “proof at trial to the issues set
forth in the pretrial order.” 6 Wright & Miller, Federal Practice & Procedure, §§ 1526, 1527 (3d
ed.).

Mullins v. Mayor & City Council of Baltimore, No. TJS-14-2698, 2017 WL 3394763, at *3 (D.
Md. Aug. 8, 2017)




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General 42 U.S.C. § 1983 Instructions

Mr. Burgess must prove both of the following elements by a preponderance of the evidence:

       1)      The Defendant(s) acted under color of state law.

       2)      While acting under color of state law, the Defendant(s) deprived Mr. Burgess of a
               federal constitutional right.

See Model Civ. Jury Instr. 3rd Cir. 4.3 (2015).




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                      Count I - 42 U.S.C. § 1983 Violation of Due Process
                                 Definition of a “Brady” Claim

        You may hear references to a “Brady” claim, which refers to plaintiff’s allegations that
one or more of the Defendants violated Mr. Burgess’s constitutional rights as defined in a case
called Brady v. Maryland.

       In Brady v. Maryland, the United States Supreme Court stated that “the suppression by
the prosecution of evidence favorable to the accused upon request violates due process where the
evidence is material either to guilt or to punishment . . . .” 373 U.S. 83.87 (1963).

        In order to facilitate the obligation of the prosecution to produce such evidence, it is the
role of police officers to disclose exculpatory evidence to the prosecutor. See Barbee v. Warden,
Md. Penitentiary, 331 F.2d 842, 846 (4th Cir. 1964). Once the evidence has been delivered to the
prosecutor, the police have satisfied their disclosure obligation. See Walker v. City of New York,
974 F.2d293, 298-99 (2d Cir. 1992).




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                     Count I - 42 U.S.C. § 1983 Violation of Due Process
                            Withholding Exculpatory Evidence

       The Fourteenth Amendment prohibits states from depriving any person of his liberty
without first affording him “due process of law” by means of a fair trial.

        Mr. Burgess must prove violations of his due process rights through malicious,
intentional acts established by evidence strong enough to “negate any negligent or innocent
explanation for the actions on the part of the police.”

      Mr. Burgess alleges that the Defendant(s) violated his right to due process of law by
means of a fair trial by withholding exculpatory evidence.

To be entitled to relief on his violation of due process claim, Mr. Burgess must prove that:

       (1) The evidence is favorable to the criminal defendant;

       (2) The officer suppressed the evidence in bad faith; and

       (3) Prejudice ensued.

See Owens v. Baltimore City State’s Attorneys Office, 767 F.3d 379, 396-97 (4th Cir. 2014)




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                      Count I - 42 U.S.C. § 1983 Violation of Due Process
                                      Absolute Immunity

          Absolute immunity means that, when a prosecutor or non-prosecutor engages in conduct
that is “intimately associated with the judicial phase of the criminal process,” there can be no
civil suit against him or her for that conduct. In determining whether a police officer is entitled to
absolute immunity, you must examine the objective nature of the function performed by the
officer at the time of his or her conduct, rather than his or her subjective intent. Acts by a police
officer that are reasonably within the functions of the prosecutor, including his or her testimony
at trial, are protected by absolute immunity.

Imbler v. Pachtman, 424 U.S. 409, 430, 96 S.Ct. 984, 47 L.Ed.2d 128 (1976)
(“Absolute immunity bars a civil suit against a prosecutor for conduct that is ‘intimately
associated with the judicial phase of the criminal process.’”).

Golian v. New York City Administration for Children Services, 2017 WL 4621296, *4 (S.D.N.Y.
Oct. 16, 2017). (“[A]bsolute immunity also extends to non-prosecutor officials when they are
performing ‘functions analogous to those of a prosecutor.’”).

Simon v. City of New York, 727 F.3d 167, 171 (2d Cir. 2013) (In determining whether a police
officer is entitled to absolute immunity, you must examine the nature of the function performed
by the officer at the time of his or her conduct).

Zanfardino v. City of New York, 230 F. Supp. 3d 325, 333 (S.D.N.Y. 2017) (quotations omitted).
(“The ‘functional test’ for absolute immunity is an objective one; it does not depend on the state
actor’s subjective intent.”).

Briscoe v. LaHue, 460 U.S. 325, 334-35 (1983) (Testimony of a police officer at trial is protected
by absolute immunity.)




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                     Count I - 42 U.S.C. § 1983 Violation of Due Process
                                    Qualified Immunity

        An officer’s actions in performing their official law enforcement functions are subject to
qualified immunity. Pearson v. Callahan, 555 U.S. 223, 244-45 (2009). As such, Mr. Burgess
bears the burden of showing that each Defendant:

       (1) violated a constitutional right; and

       (2) the right was clearly established at the time of the alleged conduct. City & Cty. of San
Francisco v. Sheehan, 135 S.Ct. 1765, 1774 (2015).

        In this Circuit, there is no clearly established right to exculpatory evidence once the
defendant is convicted. See Casey v. Hurley, 671 Fed. Appx. 137 (4th Cir. 2016) (citing Dist.
Atty’s Office for the Third Jud. Dist. v. Osborne, 557 U.S. 52 (2009).




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                      Count I - 42 U.S.C. § 1983 Violation of Due Process
                        Scope of Brady Claims as they Apply to Police

        “The Supreme Court has always defined the Brady duty as one that rests with the
prosecution.” Jean v. Collins, 221 F.3d 656, 660 (4th Cir. 2009) (Wilkerson, C.J., concurring in
the judgment, affirming by an equally divided en banc court).

       “The law has already placed ultimate responsibility upon the prosecutor for disclosing
Brady material to the defense. When Brady violations occur, criminal defendants may have their
convictions overturned. Because police knowledge is plainly imputed to the prosecution for
purposes of the prosecutor’s Brady duties… the prosecutor bears the responsibility for
implementing procedures designed to ensure that police officers turn over all evidence to him.”

        Therefore, absent bad faith on the part of the officer, it is “impermissible to hold the
police liable for due process violations under § 1983.” Jean v. Collins, 221 F.3d at 660.




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  Count I - 42 U.S.C. § 1983 Violation of Due Process Failure of Mr. Burgess’s Criminal
                    Defense Counsel to Exercise Reasonable Diligence

        Where “exculpatory information is not only available to the defendant, but also lies in a
source where a reasonable defendant would have looked, a defendant is not entitled to the benefit
of the Brady doctrine.” United States v. Wilson, 901 F.2d 378, 381 (4th Cir. 1990); see also
Barnes v. Thompson, 58 F.3d 971, 975-76 (4th Cir. 1995).

         This is particularly true where the criminal defendant actually knew of the exculpatory
information. “Aware of the existence of potentially exculpatory information, a defendant cannot
sit idly by in the hopes that the prosecution will discover and disclose that information and, when
the prosecution does not do so, seize upon the prosecution’s conduct as grounds for habeas
relief.” Stockton v. Murray, 41 F.3d 920, 927 (4th Cir. 1994).




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                     Count I - 42 U.S.C. § 1983 Violation of Due Process
                                          Bad Faith

        A civil suit against a police officer for withholding evidence requires a showing of bad
faith. Owens v. Baltimore City State’s Attorneys Office, 767 F.3d 379, 396-97 (4th Cir. 2014).

        “‘[B]ad faith’ is not simply bad judgment or negligence, but rather it implies the
conscious doing of a wrong because of dishonest purpose or moral obliquity; ... it contemplates a
state of mind affirmatively operating with furtive design or ill will.” United States v. Gilbert, 198
F.3d 1293, 1299 (11th Cir. 1999) (citing Black's Law Dictionary 139 (6th ed.1990)).
        Mr. Burgess must establish bad faith on the part of the defendants by clear and
convincing evidence. Muhammed v. Bernstein, 2013 WL 3177864, *6 (D. Md. June 21, 2013)
(citing Higgins v. Diversey Corp., 998 F. Supp. 598, 605 (D. Md. 1997)).




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                     Count I - 42 U.S.C. § 1983 Violation of Due Process
                                         Materiality

        “[T]he suppression by the prosecution of evidence favorable to the accused upon request
violates due process where the evidence is material either to guilt or to punishment . . . .” Brady
v. Maryland, 373 U.S. 83.87 (1963).

        The United States Supreme Court has held that this “materiality” element means that
Brady is violated “only if there is a reasonable probability that, had the evidence been disclosed
to the defense, the result of the proceeding would have been different. A ‘reasonable probability’
is a probability sufficient to undermine confidence in the outcome.” Id. at 682.

        Brady does not require the prosecutor to “deliver his entire file to defense counsel, but
only to disclose evidence favorable to the accused that, if suppressed, would deprive the
defendant of a fair trial.” United States v. Bagley, 473 U.S. 667, 675 (1985).




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                      Count I - 42 U.S.C. § 1983 Violation of Due Process
                              Deliberate Fabrication of Evidence
        The Fourteenth Amendment protects against being subjected to criminal charges on the
basis of false evidence that was deliberately fabricated by the defendant. In this case, Mr.
Burgess alleges one of more Defendants deprived him of his rights under the Fourteenth
Amendment to the Constitution by fabricating evidence.

       In order for the plaintiff to prevail on his due process claim for deliberate fabrication of
evidence, Mr. Burgess must prove the following additional element by a preponderance of the
evidence:

       (1) The Defendant(s) deliberately fabricated evidence that was used to convict the
       plaintiff;

       (2) The Defendant(s) continued his investigation of the plaintiff despite the fact that he
       knew, or was deliberately indifferent to the plaintiff’s innocence, and the results of the
       investigation was used to convict the plaintiff; or

       (3) The Defendant(s) used investigative techniques that were so coercive and abusive that
       he knew, or was deliberately indifferent, that those techniques would yield false
       information that was used to convict the plaintiff.

“Deliberate indifference” is the conscious or reckless disregard of the consequences of one’s acts
or omissions.

See Model Civ. Jury Instr. 9th Cir. 9.29.




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                     Count II - 42 U.S.C. § 1983 Malicious Prosecution
                                    Elements of Liability

       To establish this §1983 claim of malicious prosecution, Mr. Burgess must prove the
following elements by a preponderance of the evidence:

       (1) The Defendant(s) initiated the criminal proceeding against Mr. Burgess;

       (2) The Defendant(s) lacked probable cause to initiate the proceeding;

       (3) The criminal proceeding ended in Mr. Burgess’s favor;

       (4) The Defendant(s) acted with reckless disregard for the truth; and

       (5) As a consequence of the proceeding, Mr. Burgess suffered a significant deprivation of
       liberty.

       Because Mr. Burgess was released after being detained for questioning on October 5-6,
1994 and such detainment did not result in the initiation of criminal proceedings against Mr.
Burgess, such detainment cannot support a claim for malicious prosecution.

Humbert v. Mayor & City Council of Baltimore, 866 F.3d 546, 556 (4th Cir. 2017); Brooks v.
City of Winston-Salem, N.C., 85 F.3d 178, 181-183 (1996).




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                      Count II - 42 U.S.C. § 1983 Malicious Prosecution
                                       Probable Cause

       To determine whether probable cause existed, you should consider whether the facts and
circumstances available to the Defendant(s) would warrant a prudent person in believing that Mr.
Burgess had committed the following three crimes, for which he was subsequently convicted: (1)
Murder of Michelle Dyson; (2) Unlawful use of a handgun in the commission of a felony or
crime of violence; and (3) Unlawful wearing, carrying or transporting of a handgun.

        Probable cause requires more than mere suspicion; however, it does not require that the
officer have evidence sufficient to prove guilt beyond a reasonable doubt. The standard of
probable cause represents a balance between the individual’s right to liberty and the
government’s duty to control crime. Because police officers often confront ambiguous situations,
room must be allowed for some mistakes on their part. But the mistakes must be those of
reasonable officers.

       Mr. Burgess was indicted by a grand jury. The indictment establishes that there was
probable cause to initiate the proceeding unless Mr. Burgess proves by a preponderance of the
evidence that the indictment was obtained by fraud, perjury or other corrupt means.


See Model Civ. Jury Instr. 3rd Cir. 4.13 (2015)




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                     Counts II - 42 U.S.C. § 1983 Malicious Prosecution
                                   Elements of Each Crime

       Mr. Burgess’s arrest, prosecution, and imprisonment were lawful if the officers had
probable cause that the elements of the following crimes were met:

       (1) Murder - That Mr. Burgess, on the 5th day of October, 1994, at 2703 Barclay Street,
           feloniously (willfully and of deliberately premeditated malice aforethought) did kill
           (and murder) Michelle Yvette Dyson against the peace, government, and dignity of
           the State.

(Art. 27, Sec. 616, 1992)

       (2) Unlawful use of handgun in the commission of a crime - That Mr. Burgess used a
           handgun capable of being concealed on his person in the commission of any felony or
           any crime of violence as defined in § 441 of this Article.

(Art. 27, Sec. 36B(d), 1992)

               a. § 441 of the Article defines a “crime of violence” to mean: abduction; arson;
                  burglary, including common-law and all statutory and storehouse forms of
                  burglary offenses; escape; housebreaking; kidnapping; manslaughter,
                  excepting involuntary manslaughter; mayhem; murder; rape; robbery; robbery
                  with a deadly weapon; sexual offense in the first degree; and sodomy; or an
                  attempt to commit any of the aforesaid offenses; or assault with intent to
                  commit any other offense punishable by imprisonment for more than one year.

(Art. 27, Sec. 441(e), 1992)

       (3) Unlawful wearing, carrying, or transporting of handguns - That Mr. Burgess wore,
           carried or transported any handgun, whether concealed or open, upon or about his
           person.

(Art. Sec. 36B(b), 1992)




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                      Count II - 42 U.S.C. § 1983 Malicious Prosecution
                                            Malice

         As to the fourth element of the malicious prosecution claim, Mr. Burgess must prove that
in initiating the proceeding, the Defendant(s) acted out of spite, or that the Defendant(s) did not
believe that the proceeding was proper, or that the Defendant(s) initiated the proceeding for a
purpose unrelated to bringing Mr. Burgess to justice.

See Model Civ. Jury Instr. 3rd Cir. 4.13 (2015).




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                       Count III – 42 U.S.C. § 1983 Failure to Intervene
                                     Elements of Liability

       To succeed on his failure to intervene claim, Mr. Burgess must prove each of the
following things by a preponderance of the evidence:

       (1) One or multiple particular persons did in fact commit one or both of the primary
       violations of Mr. Burgess’s federal constitutional rights by maliciously initiating
       prosecution against Mr. Burgess without probable cause, fabricating evidence, or
       maliciously withholding exculpatory evidence;

       (2) Defendant(s) knew that this/these person(s) was/were about to commit the violation(s)
       of Mr. Burgess’s constitutional rights;

       (3) Defendant(s) had a realistic opportunity to do something to prevent harm from
       occurring;

       (4) Defendant(s) failed to take reasonable steps to prevent harm from occurring;

       (5) Defendant(s)’ failure to act caused Mr. Burgess to suffer harm.

See Fed. Civ. Jury Instr. 7th Cir. 7.16 (2010).




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                                § 1983 – Compensatory Damages
                                      General Instructions

       If you find the Defendant(s) liable, then you must consider the issue of compensatory
damages. You must award Mr. Burgess an amount that will fairly compensate him for any injury
he actually sustained as a result of the Defendant’s conduct.

        Mr. Burgess must show that the injury would not have occurred without the Defendant’s
acts or omissions. Mr. Burgess must also show that Defendant’s acts or omissions played a
substantial part in bringing about the injury, and that the injury was either a direct result or a
reasonably probable consequence of the Defendant’s act or omission.

         There can be more than one cause of an injury. To find that the Defendant’s act [or
omission] caused Mr. Burgess’s injury, you need not find that the Defendant’s act [or omission]
was the nearest cause, either in time or space. However, if Mr. Burgess’s injury was caused by a
later, independent event that intervened between the Defendant’s act [or omission] and Mr.
Burgess’s injury, the Defendant is not liable unless the injury was reasonably foreseeable by the
Defendant.

       Compensatory damages must not be based on speculation or sympathy. They must be
based on the evidence presented at trial, and only on that evidence. Mr. Burgess has the burden
of proving compensatory damages by a preponderance of the evidence.

See Fed. Civ. Jury Instr. 3d Cir. 4.8.1 (2016).




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                                       No Lost Wages Claim

       Mr. Burgess is not asserting a claim for lost wages.

                                § 1983 – Compensatory Damages
                                            Factors

        Mr. Burgess claims that he suffered tremendous damage resulting from his 20 years of
incarceration including emotional pain and suffering, economic losses, physical sickness and
injury, and various other damages. In assessing damages, you should consider:

      Emotional and mental harm to Mr. Burgess during his incarceration, including fear,
       humiliation, and mental anguish, and any such emotional and mental harm that plaintiff is
       reasonably certain to experience in the future.

      The reasonable value of each day of confinement after the time Mr. Burgess would have
       been released if Defendant(s) had not taken the actions that Mr. Burgess alleges.

       In assessing damages, you must not consider attorney fees or the costs of litigating this
lawsuit. Attorney fees and costs, if relevant at all, are for the judge and not the jury to determine.
Therefore, attorney fees and costs should play no part in your calculation of any damages.

See Fed. Civ. Jury Instr. 3d Cir. 4.8.1 (2016).




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                  Count IV - Malicious Prosecution Under Maryland Law
                                   Elements of Liability

       Malicious prosecution is the starting or continuing of a criminal proceeding with malice
and without probable cause, against another, where the proceeding terminates in favor of the
other person.

       Because Mr. Burgess was released after being detained for questioning on October 5-6,
1994 and such detainment did not result in the initiation of criminal proceedings against Mr.
Burgess, such detainment cannot support a claim for malicious prosecution.


MPJI-Cv 17:1 (2017); Humbert v. Mayor & City Council of Baltimore, 866 F.3d 546, 556 (4th
Cir. 2017); Brooks v. City of Winston-Salem, N.C., 85 F.3d 178, 181-183 (1996).




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                 Count IV - Malicious Prosecution Under Maryland Law
                    Responsibility for Starting Criminal Proceeding

      A person is responsible for starting a criminal proceeding who:

      (1)    directs or requests a prosecution based on information that the person knows is
             false; or

      (2)    withholds information that a reasonable person would realize might affect the
             decision to prosecute; or

      (3)    gives inaccurate or incomplete information to those who prosecute.

MPJI-Cv 17:2 (2017)




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                   Count IV - Malicious Prosecution Under Maryland Law
                                          Malice

       A person acts with malice if a purpose in starting a prosecution is other than bringing an
offender to justice. Malice may not be inferred from the absence of probable cause when a law
enforcement officer institutes a criminal proceeding.

See MPJI-cv 17:4 (2017)




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                   Count IV - Malicious Prosecution Under Maryland Law
                                  Elements of Each Crime

       Mr. Burgess’s prosecution was lawful if the officer who sought the issuance of charges
had probable cause that the elements of any of the following crimes were met:

       (1) Murder - That Mr. Burgess, on the 5th day of October, 1994, at 2703 Barclay Street,
           feloniously (willfully and of deliberately premeditated malice aforethought) was
           responsible for the murder of Michelle Yvette Dyson against the peace, government,
           and dignity of the State.

(Art. 27, Sec. 616, 1992)

       (2) Unlawful use of handgun in the commission of a crime - That Mr. Burgess used a
           handgun capable of being concealed on his person in the commission of any felony or
           any crime of violence as defined in § 441 of this Article.

(Art. 27, Sec. 36B(d), 1992)

               a. § 441 of the Article defines a “crime of violence” to mean: abduction; arson;
                  burglary, including common-law and all statutory and storehouse forms of
                  burglary offenses; escape; housebreaking; kidnapping; manslaughter,
                  excepting involuntary manslaughter; mayhem; murder; rape; robbery; robbery
                  with a deadly weapon; sexual offense in the first degree; and sodomy; or an
                  attempt to commit any of the aforesaid offenses; or assault with intent to
                  commit any other offense punishable by imprisonment for more than one year.

(Art. 27, Sec. 441(e), 1992)

       (3) Unlawful wearing, carrying, or transporting of handguns - That Mr. Burgess wore,
           carried or transported any handgun, whether concealed or open, upon or about his
           person.

(Art. Sec. 36B(b), 1992)




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                   Count VIII - Intentional Infliction of Emotional Distress
                                    Elements of Liability

        A defendant whose conduct is intentional or reckless and is extreme and outrageous and
that causes the plaintiff severe emotional distress is liable for damages caused by that conduct.

       For conduct to be intentional or reckless, the defendants must either:

       (1) desire to inflict severe emotional distress, or

       (2) know that such distress is substantially certain to result in such conduct, or

       (3) act recklessly in deliberate disregard of a high degree of probability that emotional
           distress will follow.

The Plaintiff’s claim for intentional infliction of emotional distress relates to and must be
associated with the underlying constitutional claims and common law claims in the litigation.

MPJI-Cv 15:12 (2017); see also Mem. Op. (ECF No. 311), at p. 48.




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          Count X – Violation of Article 24 of the Maryland Declaration of Rights
                                          Generally

       The elements of a claim for violation of plaintiff’s rights under the Maryland Declaration
of Rights are as follows:

       (1) Defendants performed acts that operated to deprive plaintiff of one or more of
           plaintiff’s rights under the Maryland Declaration of Rights, as defined and explained
           in these instructions; and

       (2) Defendant’s acts were the proximate cause of damages sustained by plaintiff.

MPJI-Cv 28:1 (2017)




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          Count X – Violation of Article 24 of the Maryland Declaration of Rights
                            Unlawful Arrest or Seizure of Person

        Under Article 24 of the Maryland Declaration of Rights, no person may be deprived of
liberty without due process of law. This means that a person may not be arrested without
probable cause for such an arrest. Probable cause exists where the facts and circumstances within
the knowledge of the officer at the time of the arrest are sufficient to warrant the officer’s belief
that the arrestee committed a criminal offense, taking into account the officer’s experience and
expertise.

       To recover under Article 24, a plaintiff must prove:

       (1) that there was an arrest or seizure of plaintiff’s person; and

       (2) that defendants acted outside the bounds of their lawful authority in making the arrest
           or seizure.

MPJI-Cv 28:2 (2017)

        Article 24 of the Maryland Declaration of Rights states that “No man ought to be taken or
imprisoned or deceived [sic] of his freehold liberties or privileges or outlawed or exiled or in any
manner destroyed or deprived of his life, liberty or property, but by the judgment of his peers or
by the law of the land.”

       The analysis for an Article 24 violation follows the analysis used for claims under the
Fourteenth Amendment to the United States Constitution. Whether the Defendant(s) violated Mr.
Burgess’s rights under Article 24 will be determined by the same analysis you use to determine
whether the Defendant(s) violated Mr. Burgess’s rights under the due process clause of the
Fourteenth Amendment.

See Beall v. Holloway-Johnson, 446 Md. 48, 68, 130 A.3d 406, 417 (2016)




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          Count X – Violation of Article 24 of the Maryland Declaration of Rights
                                   Standard of Conduct

       The reasonableness of defendant’s actions must be judged objectively from the
perspective of a reasonable police officer in the position of the defendant at the time.

        Factors that should be considered in determining reasonableness include what the officer
believed at the time of the incident. The calculus of reasonableness must embody allowance for
the fact that police officers are often forced to make split-second judgments in circumstances that
are uncertain. Therefore, in examining plaintiff’s claims, you should look at the situation from
the perspective of the defendant on the scene taking into consideration all the circumstances that
you find to have existed at the time as defendant knew them.

        As the finders of fact in this case, when considering whether the actions of defendant
were reasonable or unreasonable and excessive, you should consider all of the testimony and
evidence in the case, and it is your task to decide the facts of the case where there are competing
or disputed renditions of the facts.

MPJI-Cv 28:6 (2017)




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                                   Counts IV, VIII, and X
                                     Immunity – Malice

      A defendant acts with malice if considering the circumstances the defendant’s conduct
was motivated by ill will or by an improper motive.

MPJI-Cv 28:9 (2017)




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                                 Gunshot Residue Instruction

        The gunshot residue evidence in this case has been presented by the Plaintiff in support
of his claim for damages based on his alleged innocence. It has not been offered and cannot be
considered in deciding liability against the Defendants.




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                                                    Respectfully submitted,


                                                                   /s/
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 19th day of November, 2017, a copy of the foregoing

Defendants’ Proposed Jury Instructions was served on all counsel of record via the Court’s

CM/ECF filing system.


                                                                  /s/
                                                           Christopher C. Dahl




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